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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND



THE DISTRICT OF COLUMBIA, et al.                 *
                                                  *
      Plaintiffs                                  *
                                                  *
v.                                                *           Civil Action No. PJM 17-1596
                                                  *
DONALD J. TRUMP,                                  *
in his official capacity as                       *
President of the United States of America         *
                                                  *
      Defendant                                  *
                                               ******


                    SCHEDULING ORDER REGARDING DISCOVERY

        Per the Court’s Order of November 2, 2018 (ECF No. 136), the Plaintiffs have submitted
a Proposed Schedule for Discovery (ECF No. 138). In his response to that proposal (ECF No.
141), Defendant explains that he does not object to Plaintiffs’ Proposed Schedule, except to note
his intent to seek mandamus and a stay of proceedings from the Fourth Circuit. Accordingly, this
Scheduling Order is being entered pursuant to Local Rule 103.9. Any inquiries concerning the
schedule should be directed to Chambers, not to the Clerk=s Office. Any party who believes that
any deadline set forth in this Scheduling Order is unreasonable may request in writing a
modification of the Order or that a conference be held for the purpose of seeking a modification
of the Order, and any such request must be made within fourteen (14) days. Thereafter, the
schedule will not be changed except for good cause.

        This case is subject to electronic filing. Please familiarize yourself with the procedures for
electronic filing available at: www.mdd.uscourts.gov. The parties must use the electronic filing
system for filing documents with the Clerk and sending case related correspondence to Chambers.
When electronically filing a document that, including attachments, is 15 pages or longer, a
party must also provide a paper copy of the document and a paper copy of the notice of
electronic filing to the Court. The paper copy should be sent to the Clerk’s Office, not directly
to Chambers.


                                          I. DISCOVERY

       Initial Disclosures:               Disclosures required by Rule 26(a)(1)(A) shall be
                                          made by December 31, 2018.
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       Fact Discovery:                   Fact discovery, including any and all depositions,
                                         shall conclude on June 3, 2019, with all discovery
                                         requests to be served by May 3, 2019, so all
                                         responses shall be due on or before discovery
                                         closes.

       Expert Discovery:                 Disclosures of expert witness shall be due on June
                                         13, 2019, and expert discovery shall conclude on
                                         August 2, 2019.


Procedure

       All the provisions of Local Rule 104 apply, including the following:

               a.     All discovery requests must be served in time to assure that they are
               answered before the discovery deadline. An extension of the deadline will not be
               granted because of unanswered discovery requests.

               b.      The existence of a discovery dispute as to one matter does not justify delay
               in taking any other discovery. The filing of a motion to compel or a motion for a
               protective order will not result in a general extension of the discovery deadline.

               c.     No discovery materials, including Rule 26(a)(1) and Rule 26(a)(2)
               disclosures, should be filed with the court.

               d.     Motions to compel shall be filed in accordance with Local Rule 104.8 and
               the applicable CM/ECF procedures.

               e.     Please be familiar with the Discovery Guidelines of this Court which are
               Appendix A to the Local Rules. Appendix D contains guidelines for form
               discovery requests and confidentiality orders that may be helpful to the parties.


                                      II. STATUS REPORT

        No later than the day of the final discovery deadline, August 2, 2019, the parties shall file
a status report covering the following matters:

               a.      Whether discovery has been completed;

               b.      Whether any motions are pending;

               c.      Whether any party intends to file a dispositive pretrial motion; and

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               d.      Any other matter which the parties believe should be brought to the Court's
               attention.


                            III. DISPOSITIVE PRETRIAL MOTIONS

       Potential dispositive pretrial motions shall be filed no later than August 31, 2019,
oppositions to the same by September 20, 2019, and replies by September 30, 2019. If more than
one party intends to file a summary judgment motion, the provisions of Local Rule 105.2.c apply.

       After motions and responses thereto have been filed, the Court will advise the parties if a
hearing is to be scheduled.


                        IV. STATUS AND PRETRIAL CONFERENCES

       Unless the parties agree it is unnecessary, the Court will hold a status conference on August
9, 2019 at 11:00 a.m. in Chambers.

       At the status conference:

               a.      The Court will discuss the items set forth in the joint status report;

               b.    The Court will set a deadline for submitting the pretrial order and any
               motions in limine; and

               c.      The Court will set a pretrial conference date and a trial date.


          V. COMPLIANCE WITH LOCAL RULES AND CM/ECF PROCEDURES

        The Court will demand compliance with the Local Rules and CM/ECF procedures. If the
parties need to obtain a copy of the Local Rules or the CM/ECF procedures, they are available at
www.mdd.uscourts.gov.


                    VI. COMPLIANCE WITH PRIVACY PROTECTION RULE

        Counsel are reminded that the Federal Rules of Civil Procedure were amended, effective
December 1, 2007, with the addition of a new Rule 5.2 which has detailed requirements requiring
the redaction of filings with this Court that contain an individual's social security number, tax payer
identification number, or birth date, the name of an individual known to be a minor, or a financial
account number. It is essential that counsel comply with this rule and with the revised version of

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the Judicial Conference Privacy Policy adopted in March 2008. For further information on the
Judicial Conference Privacy Policy see:
http://www.mdd.uscourts.gov/news/news/privacy_memo.pdf.




Date: December 3, 2018                                             /s/
                                                 Peter J. Messitte
                                                 United States District Judge




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